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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :
                                             :       Case No.: 21-CR-00487-CKK
NICHOLAS L. KENNEDY,                         :
                                             :
               Defendant.                    :
                                             :

 UNITED STATES’ MOTION TO DISMISS SECOND SUPERSEDING INDICTMENT
       WITH PREJUDICE PURSUANT TO FEDERAL RULE CRIMINAL
                         PROCEDURE 48(a)

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this notice in response to the Court’s Minute Order

of January 22, 2025. The government, through undersigned counsel, states that it regards

Kennedy’s admitted attempt to obstruct a grand jury investigation as “conduct related to the events

at or near the United States Capitol on January 6, 2021.”

       Accordingly, pursuant to Federal Rule of Criminal Procedure 48(a), the government hereby

moves to dismiss all counts of the Second Superseding Indictment and all previous indictments

against the defendant with prejudice.

                                                      Respectfully submitted,

                                                      EDWARD R. MARTIN, JR.
                                                      United States Attorney
                                                      D.C. Bar No. 481866

                                             By:      /s/ Jennifer Blackwell
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